Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 1 of 7




         Exhibit 1
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 2 of 7
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 3 of 7
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 4 of 7
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 5 of 7
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 6 of 7
Case 1:19-cr-10080-NMG Document 807-1 Filed 01/31/20 Page 7 of 7




                             Sincerely,

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                                6
